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               UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION


Derrick Lee Cardello-Smith,

                        Plaintiff,      Case No. 24-12647

v.                                      Judith E. Levy
                                        United States District Judge
Sean Combs,
                                        Mag. Judge Kimberly G. Altman
                        Defendant.

________________________________/

 OPINION AND ORDER DENYING PLAINTIFF’S MOTIONS TO
              REMAND [4, 9, 12, 22, 29, 31]

     Before the Court are pro se Plaintiff Derrick Lee Cardello-Smith’s

requests to remand this case to Michigan state court. On or about June

10, 2024, Plaintiff filed this action against Defendant Sean Combs in the

Lenawee County Circuit Court. (See ECF No. 1, PageID.10–14.) On

October 7, 2024, Defendant removed the case to this Court. (Id. at

PageID.1–5.) Plaintiff timely filed an initial motion to remand (ECF No.

4) on October 17, 2024, and then filed various other requests to remand

the case to state court (together, “Motions to Remand”). (ECF Nos. 9, 12,
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22, 29, 31.) On October 31, 2024, the Defendant filed its Response in

Opposition to Plaintiff’s Motions to Remand.1 (ECF No. 20.)

      Plaintiff argues that the case should be remanded because

Defendant Sean Comb’s Notice of Removal is untimely, as it was made

more than 30 days after service. (ECF No. 4, PageID.607.) Defendant

responds that its Notice of Removal is timely, since Plaintiff did not

properly serve Defendant when he mailed the initial complaint, so “the

30-day clock for removal never began to tick.” (ECF No. 20, PageID.665.)

At issue is whether Plaintiff properly served Defendant and thus whether

Defendant’s Notice of Removal was timely.

      For the reasons set forth below, the Court finds that Plaintiff did

not properly serve Defendant, and the Court declines to remand the case.

      I.    Background

      Plaintiff alleges that he properly served Defendant on July 6, 2024,

by mailing the summons and a copy of the Complaint to Defendant’s

address. (ECF No. 22, PageID.673; ECF No. 4, PageID.607.) At a hearing




      1  In his response, Defendant referenced only two of Plaintiff’s Motions to
Remand: ECF Nos. 4 and 12. (ECF No. 20.) After Defendant filed his response,
Plaintiff filed three more requests to remand. (See ECF Nos. 22, 29, 31.) The Court
reviewed all Motions to Remand.
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on September 24, 2024, the state court found that “proper service was not

made under MCR 2.105(A)(2).” (ECF No. 1, PageID.547.) In his motions

to remand, Plaintiff argues that even if he did not properly serve

Defendant pursuant to Michigan Court Rule 2.105(A)(2), he properly

served Defendant pursuant to Michigan Court Rule 2.105(B)(1). (ECF

No. 22, PageID.673.) Thus, Plaintiff maintains that Defendant’s Notice

of Removal is untimely because it was filed on October 7, 2024, which is

more than 30 days after service was allegedly effectuated on July 6, 2024.

(Id.)

        II.   Legal Standard

        Motions to remand are governed by 28 U.S.C. § 1447(c). A motion

to remand “on the basis of any defect other than lack of subject matter

jurisdiction must be made within 30 days after the filing of the notice of

removal under 1446(a).” 28 U.S.C. § 1447(c).

        Section 1446(b)(1) governs the notice of removal. A defendant must

file a notice of removal “within 30 days after the receipt by the defendant,

through service or otherwise, of a copy of the initial pleading setting forth

the claim for relief upon which such action or proceeding is based.” 28

U.S.C. § 1446(b)(1). The 30-day deadline does “not commence until [the


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defendant is] properly served.” Sutton v. Mountain High Invs., LLC, No.

20-11656, 2021 WL 859046, at *6 (E.D. Mich. Mar. 8, 2021), aff’d No. 21-

1346, 2022 WL 1090926 (6th Cir. Mar. 1, 2022); see also Wallace v.

Interpublic Grp. of Cos., No. 09-11510, 2009 WL 1856543, at *2 (E.D.

Mich. June 29, 2009).

     III. Analysis

     Plaintiff argues that the case should be remanded because

Defendant Sean Comb’s Notice of Removal is untimely, as it was made

more than 30 days after service. (ECF No. 4, PageID.607.) He states that

he properly served Defendant pursuant to Michigan Court Rule

2.105(B)(1). (ECF No. 22, PageID.673.)

     Michigan Court Rule 2.105 governs the effectuation of service.

Michigan Court Rule 2.105(B) provides in relevant part that Plaintiff can

serve a non-resident individual by:

     (a) serving a summons and a copy of the complaint in Michigan on
     an agent, employee, representative, sales representative, or servant
     of the defendant, and

     (b) sending a summons and a copy of the complaint by registered
     mail addressed to the defendant at his or her last known address[.]




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Mich. Ct. R. 2.105(B)(1). Plaintiff must fulfill both requirements. Id.; see

also AFT Michigan v. Project Veritas, No. 17-13292, 2017 WL 6032550,

at *2 (E.D. Mich. Dec. 6, 2017) (finding no proper service pursuant to

Mich. Ct. R. 2.105(B)(1) where the plaintiff satisfied subsection (b) but

not subsection (a)).

      Plaintiff failed to properly serve Defendant under Michigan law.

Plaintiff alleges that he satisfied Michigan Court Rule 2.105(B)(1) on

July 6, 2024, by mailing the summons and a copy of the complaint to

Defendant’s address. (ECF No. 22, PageID.673.) However, Plaintiff

ignores subpart (a), which required him to “serv[e] a summons and a copy

of the complaint in Michigan on an agent, employee, representative, sales

representative, or servant of the defendant.” Mich. Ct. R. 2.105(B)(1)(a).

As Defendant notes in his response, “Plaintiff does not (and cannot) claim

that he complied with Michigan Court Rule 2.105(B)(1)(a).” (ECF No. 20,

PageID.666–667.) Because Plaintiff fails to satisfy the first requirement

of Michigan Court Rule 2.105(B)(1), he did not properly serve Defendant

on July 6, 2024.2




      2 Defendant also argues that Plaintiff did not fulfill subsection (b) because the

mailing was sent to California, which was not Defendant’s primary or last known
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      Additionally, since Defendant was never properly served,3

Defendant’s Notice of Removal is timely. The 30-day deadline to remove

an action to federal court only commences when the defendant is properly

served with the initial pleading. See 28 U.S.C. § 1446(b)(1); see also

Sutton, 2021 WL 859046, at *6. To date, Plaintiff has still not properly

served Defendant because the July 6, 2024, mailing was not proper under

Mich. Ct. R. 2.105, and Plaintiff alleges no other attempt to serve

Defendant. Therefore, Defendant’s Notice of Removal is within the 30-

day deadline established by 28 U.S.C. § 1446(b)(1). Therefore, his motions

must be denied.4



address. (Id.) However, the Court does not need to reach this issue because Plaintiff
cannot satisfy subsection (a).
       3 “[E]ven if Defendant had actual notice of the suit, the thirty-day time limit

would not commence until the Defendant was formally served with the summons and
complaint.” Wallace, 2009 WL 1856543, at *2.
       4 Alternatively, Plaintiff argues that this case was appealed to the Michigan

Court of Appeals before Defendant filed the notice of removal in Lenawee County
Circuit Court, and therefore, Plaintiff alleges that the state courts still have
jurisdiction. Under Michigan Court Rule 1.112, which is the state’s prison mailbox
rule, Plaintiff filed his appeal to the Michigan Court of Appeals on October 3, 2024,
by handing it to prison officials to mail. (ECF No. 29, PageID.694.) Defendant filed
the notice of removal in Lenawee County Circuit Court on October 7, 2024, which is
four days later. (ECF No. 1, PageID.1.) However, this distinction is irrelevant.
Pursuant to 28 U.S.C. § 1446(d), removal is effected when the state court receives the
notice of removal. Defendant has given notice of removal in both state courts:
Lenawee County Circuit Court and the Michigan Court of Appeals. Even if the Court
of Appeals had jurisdiction over the case as of October 3, 2024, Defendant sent the
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      IV.    Conclusion

      For the reasons set forth above, Plaintiff’s Motions to Remand (ECF

Nos. 4, 9, 12, 22, 29, 31) are DENIED.

IT IS SO ORDERED.

Dated: November 15, 2024                      s/Judith E. Levy
       Ann Arbor, Michigan                    JUDITH E. LEVY
                                              United States District Judge




                         CERTIFICATE OF SERVICE
      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or first-class U.S. mail addresses
disclosed on the Notice of Electronic Filing on November 15, 2024.
                                              s/William Barkholz
                                              WILLIAM BARKHOLZ
                                              Case Manager




notice of removal to the Court of Appeals by November 7, 2024, so the case is now
properly before this court. Moreover, even if an appeal in state court is pending, a
notice of removal is valid, and the district court gains jurisdiction when the removal
is properly filed. See Ward v. Resol. Tr. Corp., 972 F.2d 196, 198 (8th Cir. 1992).
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